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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    WAYMO LLC,                                         Case No.17-cv-00939-WHA (JSC)
                                                       Plaintiff,
                                   8
                                                                                           ORDER RE: IN CAMERA REVIEW
                                                v.
                                   9

                                  10    UBER TECHNOLOGIES, INC., et al.,
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          The Court has reviewed in camera 50 pages of documents Uber has redacted as attorney-

                                  14   client privileged or attorney work-product or as otherwise confidential information not relevant to

                                  15   this trade secret misappropriation lawsuit. Upon its review, the Court concludes that the following

                                  16   shall be produced to Waymo in unredacted form by 5:00 p.m. today:

                                  17                 UBER00338432

                                  18                 UBER00333940

                                  19                 UBER00333989

                                  20                 UBER00334369

                                  21          IT IS SO ORDERED.

                                  22   Dated: January 9, 2018

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                                                                                                   JACQUELINE SCOTT CORLEY
                                  25                                                               United States Magistrate Judge
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